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EXHIBIT 1

Site Investigation and Monitoring at Chevron #9-4373 (1160 Fresno Street)
and Gilbert’s Exxon (4142 East Church)

Letter from Steven J. Brussee et al., Geraghty & Miller, Inc., to Russell W. Walls,
RWQCB (Sept. 3, 1996) (RWQCB-FRESNO-042544—42578) (Chevron 9-4374);

Letter from Deanna L. Harding & Penny L. Silzer, Gettler-Ryan, Inc., to Robert Cochran,
Chevron USA Prods. Co. (Aug. 6, 1996) (F CDEH-FRESNO-04 172441763) (Chevron
9-4374);

Letter from RWQCB, to R. J. Cochran, Chevron Prods. Co. (Oct. 12, 1999) (FCDEH-
FRESNO-044290-44295) (Chevron 9-4374);

RM Assocs., Quarterly Ground Water Monitoring Report, 4142 East Church Street (June
13, 1997) (FCDEH-FRESNO-054837-54854); and

Grisanti & Assocs., Inc., Soil & Groundwater Contamination Investigation and
Corrective Action Plan, Gilbert’s Exxon (RWQCB-FRESNO-04386 143967).

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AF MI INC.

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Environmental Services _,

September 3, 1996
Project No. RC0042.014

Mr. Russell W. Walls Board
Regional Water Quality Control
Central V; Region

3614 East Avenve

Fresno, California 93726

SUBJECT: Plume Delineation, Former Chevron Service Station #9-4374, 1160 Fresno
Street, Fresno, Califomia.

Dear Mr. Walls:

On behalf of Chevron, Geraghty & Miller has submitted a Work Plan Addendum, dated
November 22, 1995, for off-site soil and groundwater assessment in the vicinity of the above-
referenced site. The wells proposed in that Work Plan Addendum will serve to more adequately
define the extent to which soil and groundwater are affected by petroleum hydrocarbons.

The purpose of this letter is to request your concurrence in the need for the installation
of a well across “C” Street, to the east of the above-referenced property. This property is
occupied by a Shell gas station. This well on the Shell property is needed in order to determine
whether the Shell station may be an additional source of petroleum hydrocarbons to the soil and
groundwater in the vicinity. The following summaries and data provide substantial afgument
for this possibility.

Geraghty & Miller is extracting and destroying hydrocarbon vapors from nine on-site
soil-vapor extraction wells. These wells are screened from 5 feet above to 5 feet below the
average groundwater surface, located at approximately 80 feet bgs. To date, approximately
200,000 pounds of petroleum hydrocarbons have been extracted and destroyed. In addition,
approximately 140,000 pounds of petroleum hydrocarbons have been extracted as the micro-
biological end product of aerobic hydrocarbon degradation, carbon dioxide.

To further define the source areas of hydrocarbons being extracted, Geraghty & Miller
has performed vapor analyses on samples collected from the existing monitoring and extraction
wells. Gas chromatograph strips and methy] tertiary butyl ether (MTBE) concentrations were

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1050 Marina Wey South ° Richmond, California 94804 « (510) 233-3200 FAX (510) 233-3204 é

RWQCB-FRESNO-042544

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August 6, 1996 Job #6308.80

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San Ramon, CA 94583

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Re: Parmer Chevron Service Station #9-4374 Fresno CoConmury Haat Begt
1160 Fresno Street
Fresno, Califomia

Dear Mr. Cochran:

This report documents the quarterly groundwater sampling event performed by Gettler-Ryan Inc. (G-R). On July 2,
1996, field personnel were on-site to monitor twelve and wells (MW-C through MW-I and MW-K through MW-0) and
sample nine wells (MW-B through MW-I and MW-L throygh MW-O) at the Former Chevron Service Station #9-4374
located at 1160 Freano Street in Fresno , California. Two wells, MW-A and MW-B were inaccessible. Two wells, MW-
C and MW-D, were dry, and one well, MW-K, had insufficient water to sample,

Static groundwater levels were measured on July 2, 1996. All wells were checked for tho presence of separate-phase
lrydrocarbons. Separate-phase hydrocarbons were not present in any of the site wells, Static water level data and
groundwater elevations are presented in Table 1. A potentiometric map is included es Figure 1.

Groundwater samples were collected from the monitoring: wells as specified by G-R Standard Operating Procedure -
Groundwater Sampling (attached). Tho fickd data sheets for this event are also attached. The samples were analyzed
Sequoia Analytical. Analytical results are presented in T: le 1. The chain of custody document and laboratory analytical
segorty axe atinehed. ,

Thank you for allowing Gettler-Ryan to provide environmental services to Chevron. Picass call if you have any questions
or comments regarding this report. ‘

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Chain of Custody Document and Laboratory Analytical Reports

6747 Slerra Court, Suite J * Dublin California 94568 * (510) 581-7555

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Steven T. Butler, Chair wa
Secretary far Fremo Branch Office
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Frosecttan "3614 Bast Ashlan Avena, California 93726
Phone (559) 445-5116 » FAX (559) 445-5910
dP ecwber i999 -  O4SBAa3 e7er
Mr. R. 3. Cochran
P.O. Box 6004. -
Frestio. CA 94583
COMMENT ON WORK PLAN, FORMER CHEVRON STATION 9-4374, 1160 FRESND SEREET,
FRESND COUNTY

We reviswed:the Work Plan for Soil Borings and Monitoring Wells, dated 22 April 1999, which was
prepared by Gettler-Ryan, Inc. on behalf of Mr. R. J. Cochran of Chevron USA Products Company
(Chevron). Our comments are presented below following a presentation of background information

| ‘The following background information was excerpted from a 15 August 1997 Site-Specific Health Risk
Assessment for the subject site prepared by Geraghty & Miller, Inc. for Chevron.

“In 1988, the service station was demolished; this demolition included the removal of all
above- and below-ground structures, including all surface asphaltic- and Portland cement-
concrete: Two 10,000-gallon and one 5,000-gallon underground gasoline storage tanks and
oe. 500-gallon underground waste-oil tank were removed and surrounding ‘soil was

Between;September 1988 and December 1988, Krazan & Associates installed groundwater
nitoring Wells MW-A, MW-B, MW-C, and MW-D onsite. In August 1989, RMX
j g and Construction of Sacramento, California, installed a groundwater extraction
and tr nt system (pump and treat). The effectiveness of the pump-and-treat system was
limited by low extraction flow rates, small radii of influence, and silt infiltration

of the wells. Pump-and-treat system operation ceased in August 1992.

& Miller evaluated the remediation approach for the site in October 1992.
ity & Miller installed groundwater Monitoring Wells MW-E, MW-F, and MW-G in
October |1992; groundwater Monitoring Wells MW-H and MW-I and Vapor Extraction
Wells VW-1, VW-2S, and VW-2D in December 1993; and groundwater Monitoring Wells
-L, MW-M, MW-N, and MW-O in February 1994.

California Environmental Protection Agency
CB Recrcied Paper

FCDEH-FRESNO-044290

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oN 69.
Mr. Robest Cochran Cc) 2 oY 12 October 1999
Fram 1994 to 1996, Geraghty & Miller operated an SVE and thermal oxidation abatement
System at the site, resulting in the destruction of an estimated 291,500 pounds of petroleum
hydrocagbons.”

Up to 15 gromdwater monitoring wells were sampled on a quarterly schedule from May 1991 to May
1997; semi-qnmaa] monitoring has been conducted since October 1997. Product sheen or free-phase
product wasjobserved in wells MW-B, MW-C, and/or MW-D from late 1989 to mid-1991. Maximum —
historical and TPH-g concentrations at the site are 67000 jrp/L and 670000 Lig/L, respectively.

Between July 1996 and October 1998, MTBE was detected one or more times in groundwater samples
from wells MW-B, MW-F, MW-G, MW-H, MW-L, MW-M, and MW-N which were analyzed using
BPA Method 8620. ‘The maximom Historical MTBE concentration is 2900 j1g/L (MW-N). This
detection of MT'BE-was not confirmed by GC/MS methods. The presence of MTBE has not been
confirmed in any of the four sampling events between October 1996 and April 1998 .in which one or
mare samples were analyzed by GC/MS Methods 8240 or 8260.

Ethylene dibromide (EDB), 1,2-dichloroethane (1,2-DCA) and methylene chloride were detected in
Chevron groundwater monitoring wells at maximum concentrations of up to 230, 3400 ug/L and 150
g/L, respectively, based on a review of historical analytical data, EDB and 1,2-DCA were regularly
analyzed during quarterly groundwater monitoring events from December 1991 to October 1994, bat
‘have not been analyzed since then. At the time of the October 1994 groundwater monitoring well
sampling, maximum concentrations of EDB and 1,2-DCA were 180 jig/L and 3400 pg/L, respectively,
The maximum 1,2-DCA concentration was detected in monitoring well MW-G, where it represented an
increasing trend at the time of the last analysis for this constituent.

Monitoring wells MW-E through MW-O were analyzed for the fuel oxygenates ethanol, tertiary butyl
alcohol (TBA), di-i i ether (DIPE), cthyl tertiary butyl ether (ETBE), and tertiary amyl methyl
ether (TAME) in Apri] 1998 Results were nondetected for all wells. However, detection limits ranged
up to 25000 g/L and 5000 pg/L. for ethanol and TBA, respectively; detection limits ranged up to 100
jigfL each for DIPE, ETBE, and TAME.

Review of analytical data also shows that groundwater samples from the site or vicinity monitoring wells
have not been analyzed for total lead.

Work Plan Backeronnd

The 22 Ane 1999 work plan represents the last of multiple iterations of an 18 September 1995 Work
Plan for Additional Off-Site Soil and Groundwater Assessment. The 18 September 1995 work plan
Proposed to construct three additional monitoring wells across Fresno and/or “C” Streets from the
Chevron site. The wells weze proposed to be in Fresno City right-of-way areas (sidewalks) to the
northwest (MW-R), north (MW-Q), and northeast (MW-P) of the Chevron site. Proposed well MW-P
was planned adjacent to the Shell Service Station that Chevron has contended is a possible source for a
portion of the petroleum hydrocarbons detected in Chevron’s monitoring well network.

Based on 26 October 1995 comments from the Regional Board to the 18 September 1995 work plan,
Geraghty & Miller submitted a 22 November 1995 addendum. The addendum addressed Regional
Board concerns that the extent of groundwater contamination had not been defined in any direction, and
that more than the three proposed wells would be required. The addendum shifted the well proposed to

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QUARTERLY GROUND. WATER

JUNE 13, 1997
Project No. 93 - 11

prepared for: RECEVED

4142 East Church Street mental 4
Fresno, California Calth System

prepared by:

RM Associates
1111 East Herndon Avenue, Suite 306
Fresno, California 93720
(209) 438-0254

1189 £. HERNOON AVE, SUITE 101, FRESNO, CALIFORNIA 93720 © (209) 438-0254 = FAX (209) 438-1256

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SOIL & GROUNDWATER CONTAMINATION INVESTIGATION
. AND
CORRECTIVE ACTION PLAN

GILBERT’S EXXON
FRESNO, CA

September 2001

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1509 Draper St., Suite A, Kingsburg, CA 99631 ¢ 209/897-5873

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As indicated in Table 4 above, early analysis of groundwater showed significant
contamination with gasoline constituents in MW-1, MW-2, and MW3. First sampling of
these wells showed TPH gasoline levels ranging from 1900 to 2500 ppb. These
concentrations decreased markedly over the years since the initial sampling in January of 1995
down to ND detectable levels in July 2000. In response to the early results RM Associates
prepared and submitted a “Ground Water Investigation/Soil Vapor Extraction Test
Workplan” dated December 13, 1996. While this workplan was approved with minor
modification, no further actions were implemented except for quarterly monitoring of the
three existing wells up until the project was taken over by Grisanti & Associates in January
2001. At that time a scaled down version of the above RM Associates workplan was
submitted to the Regional Water Quality Control Board.

RWQCB-FRESNO-043879

